
560 So.2d 347 (1990)
J.B.M., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 89-985.
District Court of Appeal of Florida, Fifth District.
April 26, 1990.
James B. Gibson, Public Defender, and Kenneth Witts, Asst. Public Defender, Daytona Beach, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Dee R. Ball, Asst. Atty. Gen., Daytona Beach, for appellee.
PER CURIAM.
A child who has been found to have committed a delinquent act (§ 39.10(3), Fla. Stat.) has not been convicted of a felony as defined in Article X, section 10, Florida Constitution, and section 775.08(1), Florida Statutes, although under section 39.10(4), Florida Statutes (1987), for use in subsequent juvenile proceedings, an adjudication of a prior delinquent act is deemed a "conviction." Therefore, based on a prior delinquency adjudication, a child cannot be found to be a felon and to have violated section 790.23, Florida Statutes, which prohibits possession of a firearm by any person who has been "convicted of a felony." Accordingly, the adjudication of delinquency below, based on the child's violation of section 790.23, Florida Statutes, is
REVERSED.
DANIEL, C.J., W. SHARP, and COWART, JJ., concur.
